The prisoner was arrested under a warrant issued by a justice on the information of Clemenia T. Hill, that he had threatened to commit an offense against the person of another, and on being brought before the justice was ordered to give bond in the sum of $500 to the people of the state to keep the peace, etc., and in case of failure, to be imprisoned in the county jail for a period not to exceed six months; and, having failed to give the bond, he is now in custody of the sheriff under a warrant of commitment, to be held until the bond shall be given, or until the expiration of the six months referred to. The deposition of the informer was not taken by the justice before issuing the warrant, nor do we think the written information verified by her shows the facts necessary to justify the issue of the warrant. *Page 242 
We are of the opinion, therefore, that the prisoner must be discharged; and it is so ordered.
Gray, P. J., and Allen, J., concurred.